      Case 2:94-cr-00168-GEB Document 305 Filed 02/21/17 Page 1 of 2


1

2

3

4

5

6

7

8                              UNITED STATES DISTRICT COURT

9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     No.     2:94-cr-00168-GEB-2
12                     Plaintiff,
13          v.                                     ORDER
14   KENNETH JOEL NOVAK,
15                     Defendant.
16

17
                   The    United      States    and    the    Probation      Department         are
18
     requested to respond to Kenneth Joel Novak’s motion, (ECF No.
19
     304),    in   which      he   seeks     early     termination    of     his       supervised
20
     release pursuant to 18 U.S.C. § 3583(e)(1). The United States is
21
     requested to file a response no later than March 1, 2017. Since
22
     the Probation Department is “an arm of the court” concerning the
23
     requested      response,         the    Probation       Department    may         email    its
24
     response to chambers. United States v. Gonzales, 765 F.2d 1393,
25
     1398 (9th Cir. 1985); see generally United States v. Johnson, 935
26
     F.2d    47,   49-50      (4th    Cir.     1991)    (indicating    that        a    probation
27
     officer     “is     an   agent    of    the   court     and   assists    the       court    in
28
                                                   1
      Case 2:94-cr-00168-GEB Document 305 Filed 02/21/17 Page 2 of 2


1    arriving   at   a   just   [decision]”);     see     18 U.S.C.    § 3603(10)

2    (prescribing    that    notwithstanding      other     prescribed    duties

3    enumerated in § 3603 the Probation Department shall “perform any

4    other duty that the court may designate”).

5               The Clerk of the Court shall include in her service of

6    this Order the Probation Department; and Kenneth Joel Novak at

7    the address listed in ECF No. 304: Kenneth Joel Novak, 1004

8    Galleon Way, Sacramento, CA 95838.

9               Dated:   February 17, 2017

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         2
